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PROB 12A
(7193)
                              United States District Court
                                           for
                                 District of New Jersey
                         Report on Offender Under Supervision

Name of Offender: Edward Barks                                                          Cr.: 08-00933-001
                                                                                          PACTS #: 50963

Name of Sentencing Judicial Officer:    THE HONORABLE FAITH S. HOCHBERG
                                        UNITED STATES DISTRICT JUDGE

Newly Assigned Judicial Officer:        THE HONORABLE ESTHER SALAS
                                        UNITED STATES DISTRICT JUDGE

Date of Original Sentence: 06/24/2009

Original Offense: Possession of Child Pornography

Original Sentence: Imprisonment 78 months; Supervised Release
                                   -                               —   5 years

Special Conditions: Financial Disclosure, Computer Monitoring, Mental Health Treatment, Restricted
Contact with Minors, No New Credit, Polygraph Examination, Sex Offender Registration, Special
Assessment Fee $100
                -




Type of Supervision: Supervised Release                        Date Supervision Commenced: 05/08/2015

                                NONCOMPLIANCE SUMMARY

The offender has not complied with the following condition(s) of supervision:

Violation Number     Nature of NQnpomDliance

                     The offender has violated the supervision condition which states ‘The
                     defendant shall not commit another federal, state, or local crime dating
                     the term of supen’lslon.’
                     On July 10, 2018, the offender was arrested by Readinpon Township Police
                     Officers at his place of employment for issuing terroristic threats. Specifically,
                     the offender was working at Subway fast food restaurant when a female
                     customer approached him and asked why he was staring at four black males
                     and two white males who were in the restaurant. The female customer asked
                     the offender if he was racist because of the manner in which he was staring at
                     the other customers, and the offender reportedly replied that he was not racist
                     but fill of hate, During a heated argument with the customer, he then
                     continued by stating that sometimes he felt he would like to kill her and
                     everyone in the restaurant.
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                                                                                               Edward Barks

                   It is noted that the offender did not lose hisjob at the Subway restaurant, The
                   employer related to the undersigned officer that he was of the opinion that the
                   offender was watching the four males because he was not sure what they were
                   doing. He added that he felt the female customer was out of line and created
                   the situation. The employer did not feel that the offender was a threat to
                   anyone; rather, just that lie responded in an inappropriate manner to the
                   female customer.

                   It is further noted that the arresting officer corroborated the information
                   provided by the employer about the female customer. The officer indicated
                   that the situation appears to have involved an irate customer, who took her
                   frustrations out on the offender, who in turn responded in an inappropriate
                   manner.

                   The offender appeared in Court on July 12, 2018, at which time the matter
                   was set for another appearance on Atigust 13, 2018. At this time, the matter
                   remains at the municipal court level and is pending.

U.S. Probation Officer Action:

The offender was confronted about his actions leading to his arrest and was advised how to better handle
difficult customers in the figure. He was counseled regarding the seriousness of issuing threats during
stressful situations and other options available to him. A drug test was conducted directly after his arrest,
which was negative. Our office will refer the offender to anger management and/or mental health
counseling as appropriate and monitor his behavior at his place of employment.

At this time, we would like to opportunity’ to monitor this situation as the case is adjudicated through the
system. The offender has no history of violence, and lie has been fully compliant with his supervision
tenn during the past three years. As such, the undersigned officer respectfully recommends no further
action at this time, and that this signed Probation Form 12A serve as an official reprimand from the Court.
Should this pending matter be referred to a higher court, the undersigned officer will advise Your Honor
and initiate the appropriate violation proceedings,

                                                                   Respectfully submitted,


                                                                    y: Matthew C. Kurzawa
                                                                                          C
                                                                  A
                                                                 cfJ-’Senior U.S. Probation Officer
                                                                    ate: 07/13/2018
  Pfase check a box below to indicate the Court’s direction regarding action to be taken in this case:

r\/No Formal Court Action to be Taken    —   Document to Serve as an Official Judicial Letter of Reprimand
F Submit a Request for Modifying the Conditions orTenn of Supervision
F Submit a Request for Warrant or Summons
F Other
